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            UNITED STATES DISTRICT COURT
_ _ __ _ _ __ District of Kansas _ _ _ __ ......f ..
                                                  IL...E...D-
                                     (Wichita Docket)                           U.S. District Court
                                                                                District of Kansas


UNITED STATES OF AMERICA,                                                        APR 3 ·2019
                                                                         Clerk, U.S. District Court
                      Plaintiff,                                         By        CYvYl Deputy Clerk

              v.                                    CASE NO. 18-10065-03-EFM -01

CASEY S. VINER,

                      Defendant.




                         PLEA AGREEMENT

       The United States of America, by and through United States Attorney Stephen R.

McAllister, and Casey S. Viner, the defendant, personally and by and through his counsel, Jack

Morrison, Jr., hereby enter into the following Plea Agreement pursuant to Rule 11 of the Federal

Rules of Criminal Procedure:

       1.     Defendant 's Guilty Plea. The defendant agrees to plead guilty to Counts 12 and

13 of the Superseding Indictment charging violations of 18 U.S.C. §§ 371 and 1512(c)(l), that is,

conspiracy and obstruction of justice, respectively. By entering into this Plea Agreement, the

defendant admits to knowingly committing the offenses, and to being guilty of the offenses. The

defendant understands that the maximum sentence which may be imposed as to Count 12 of the

Superseding Indictment to which he has agreed to plead guilty is not more than five (5) years of
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imprisonment, restitution in the amount of $5,000.00, not more than three years of supervised

release, and a $100.00 mandatory special assessment. The defendant understands that the

maximum sentence which may be imposed as to Count 13 of the Superseding Indictment to which

he has agreed to plead guilty is not more than twenty (20) years of imprisonment, restitution in the

amount of $5,000.00, not more than three years of supervised release, and a $100.00 mandatory

special assessment.

       2.      Factual Basis for the Guilty Plea. The parties agree the facts constituting the

offense to which the defendant is pleading guilty are as follows:

       The defendant, Casey S. Viner, during the evening of December 28, 2017, in
       the District of Kansas and elsewhere, played Call of Duty World War II- an
       on line game - with Shane GASKILL from different physical locations. Co-
       defendant GASKILL played from Kansas while defendant VINER played
       from Ohio.

       Defendant GASKILL became upset by events that occurred during the game,
       events that he blamed on co-defendant VINER. The defendants argued via
       electronic communications, and defendant VINER remained upset.

       Defendant VINER then contacted co-defendant Tyler BARRISS through
       electronic communications asking co-defendant BARRISS to "swat" co-
       defendant GASKILL at an address that co-defendant GASKILL previously
       provided to defendant VINER, which was 1033 W. McCormick Street,
       Wichita, KS 67217. This address was not co-defendant GASKILL's true
       address, but the defendant did not know that at the time.

       Co-defendant BARRISS followed co-defendant GASKILL on Twitter,
       researching and verifying that the address provided by defendant VINER
       was, in fact, the address for a residence. The defendant admits that he now
       knows that co-defendant BARRISS also identified a telephone number for
       the Wichita, Kansas, Police Department.

       Co-defendant GASKILL noticed that co-defendant BARRISS was following
       him on Twitter. Co-defendant GASKILL then began communicating with
       co-defendant BARRISS through direct electronic messages.

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At approximately 6: 10 or 6: 11 p.m., co-defendant HARRISS (while located
in California) began a series of telephone calls to the Wichita Police
Department (WPD)'s downtown security desk in Wichita, Kansas. To
disguise his identity, co-defendant HARRISS acquired an assigned telephone
number from TextNow so it appeared to Wichita emergency personnel (with
caller id) that co-defendant HARRISS was using a telephone with a "316"
area code, the area code that includes Wichita, Kansas.

Co-defendant HARRISS made telephone calls to the WPD, at 6:10 or 6:11
p.m., 6: 15 or 6: 16 p.m., and 6: 17 p.m. During one of these calls, co-defendant
HARRISS identified himself as "Brian" to the WPD security officer who
answered the phone. According to the security officer, "Brian" asked if the
number he called was the police department, then reported that his mother
struck his father with a gun. The security officer put the co-defendant on hold
and attempted to transfer each call to the 9-1-1 system operated by Sedgwick
County Emergency Communications (County). The only successful transfer
occurred with the 6: 17 p.m. telephone call.

At approximately 6: 18 p.m., a County employee (dispatcher) received the
call transferred from the WPD. The dispatcher asked the caller for the
location of the emergency. The co-defendant stated that he was at 1033 W.
McCormick where "I [he] just shot my dad in the head 'Cause he was arguing
with my mom and it was getting way out of control." The dispatcher asked
the co-defendant to confirm the address, which the co-defendant did, as well
as adding that it was a house and he was holding his mother and brother at
gunpoint "in a closet right now" to ensure they not go anywhere. The co-
defendant identified himself as "Ryan" and he eventually stated "I didn't
really mean to kill my dad." The dispatcher asked the co-defendant if he
could see his dad "right now." The co-defendant said yes, his dad was "on
the floor dead" and "not breathing." Soon thereafter, the co-defendant
informed the dispatcher that he was considering lighting the house on fire
before committing suicide. This call eventually disconnected, but the
dispatcher was unable to call the co-defendant back because the dispatcher
had not been able to obtain the number from caller ID (the number did not
show up after the call was transferred by the WPD security officer).

The co-defendant later learned that the County dispatched a response team
of law enforcement officers to 1033 W. McCormick Street as a direct result
of the co-defendant's telephone call. These officers initially believed they
were responding to a self-inflicted shooting. Shortly thereafter, dispatch
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notified the officers that this was not correct, the calling party reported that
he shot his dad in the head and that dad was not breathing. When the officers
arrived in the area, they established a perimeter around 1033 W. McCormick
Street. At some point thereafter, the front door opened and a man, later
identified as A.F ., stepped onto the front porch. At approximately 6:28 p.m.,
an officer fired a shot that caused the death of A.F.

At approximately 6:35 and 6:37 p.m. the co-defendant (who at the time was
unaware of the shooting) called the WPD security officer again. During one
of the calls, the WPD security officer asked the co-defendant for his name
and phone number. The co-defendant provided the name "Brian" and a
telephone number that started with area code "316." In the final call, the
WPD security officer advised the co-defendant to hang up so the County
dispatcher could call him. The WPD security officer provided the "316"
telephone number to the County dispatcher.

The defendant admits that he has learned through the review of discovery
provided by the United States that no one named "Ryan" or "Brian" lived at
1033 W. McCormick on December 28, 2017, to the best of his knowledge
and information. No one had been shot inside the house, no hostages were
being held, and there was no gasoline poured all over the house, nor was
anyone inside threatening suicide. The defendant admits that co-defendant
HARRISS made false allegations and statements to the WPD and the
Sedgwick County Emergency Communications in phone calls that occurred
between the hours of 6: 10 p.m. and 6:39 p.m. for the purpose "swatting" co-
defendant GASKILL who the defendant and co-defendant HARRISS
believed lived at 1033 W. McCormick, Wichita, Kansas.

To make these false telephone calls to the WPD and the County on December
28, 201 7, the defendant now knows based on the review of discovery
provided by the United States that co-defendant HARRISS utilized interstate
electronic communication services.

To communicate with co-defendants GASKILL and HARRISS on December
28, 2017, the defendant admits they utilized interstate electronic
communication services.

The defendant admits that his communications with co-defendant HARRISS
constituted an agreement (A) to convey false and misleading information in
violation of the provisions of Title 18, United States Code, Section 1038, (B)
to knowingly and willfully transmit in interstate commerce a communication
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in violation of the provisions of Title 18, United States Code, Section 875(c),
and (C) to use electronic facilities of interstate commerce in violation of the
provisions of Title 18, United States Code, Section 2261A, and that he or co-
defendant BARRISS committed at least one act to effect the object of the
conspiracy. Specifically, the defendant admits that he or co-defendant
BARRISS did the following, and that any one of these acts constitutes an
overt act in furtherance of the conspiracy -

(i) defendant VINER requested that co-defendant BARRISS swat co-
defendant GASKILL;
(ii) the defendant agreed with co-defendant BARRISS to swat co-defendant
GASKILL;
(iii) defendant VINER provided an address for co-defendant GASKILL
(1033 W. McCormick Street, Wichita, Kansas) and co-defendant
GASKILL's user name to co-defendant BARRISS;
(iv) co-defendant BARRISS researched a telephone number for the Wichita
Police Department, located in Wichita, Kansas;
(v) co-defendant BARRISS researched the McCormick Street address;
(vi) co-defendant BARRISS disguised his telephone number to make it
falsely appear he was calling from a number starting with a 316 area code;
(vii) co-defendant BARRISS placed at least one telephone call to the Wichita
Police Department, located in Wichita, Kansas;
(viii) co-defendant BARRISS conveyed false information about himself and
events to an employee of the Wichita Police Department at least once;
(ix) co-defendant BARRISS participated in at least one telephone call with
Sedgwick County Emergency Communications, located in Wichita, Kansas;
(x) co-defendant BARRISS conveyed false information about himself and
events occurring at the McCormick Street address to an employee of
Sedgwick County Emergency Communications at least once.

The defendant acknowledges and admits that his actions, outlined above,
resulted in the death of another person, A.F., who was living in the District
of Kansas at the time of A.F.'s death.

The defendant learned about A.F. 's death from the Internet. On December
28-29, 2017, the defendant admits that he used his iPhone to communicate
with the co-defendants and others about these events. The defendant admits

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       that, at some point that evening, he performed a factory reset on his iPhone
       in order to delete and destroy evidence of his communications with
       defendants BARRISS and GASKILL. The defendant admits that this was
       done in order to alter or destroy the collection of those communications on
       his iPhone with the intent to impair the integrity or availability of the
       communications for use in any law enforcement investigation that arose from
       A.F.' s death in Wichita, Kansas. The defendant admits that co-defendant
       GASKILL suggested deleting the messages and communications and that the
       defendant followed the suggestion on or about December 28, 2017.

       When the defendant's iPhone was subsequently seized and examined by law
       enforcement officers, the officers were able to resurrect only part of the
       defendant's communications about these events because of defendant
       VINER performing a factory reset on his phone.

       3.      Application of the Sentencing Guidelines. The parties request that the Court

apply the United States Sentencing Guidelines (Guidelines) to calculate the applicable sentence.

The defendant agrees to waive all constitutional challenges to the validity of the Guidelines. The

defendant understands and acknowledges that the Court will find, by a preponderance of the

evidence, the facts used to determine the offense level, and in making its findings, that the Court

may consider any reliable evidence, including hearsay. Nothing in this section prevents the parties

from filing objections to the Presentence Report prepared by the United States Probation Office,

or from arguing the application of specific sections of the Guidelines. The parties agree that the

Court will determine the final Guideline range. The parties understand this Plea Agreement binds

the parties only and does not bind the Court.

       4.      Relevant Conduct. The parties have agreed to the application of the Guidelines.

Therefore, the defendant agrees that the conduct charged in any dismissed counts, as well as all

other uncharged related criminal activity, will be considered as relevant conduct for purposes of

calculating the offense level for the count(s) of conviction, in accordance with United States


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Sentencing Guidelines (U.S.S.G.) § lBI.3.

       5.      Government's Agreements. In return for the defendant's plea of guilty as set forth

herein, the United States Attorney for the District of Kansas agrees:

       (a)     to move to dismiss the remaining counts of the Indictment and Superseding
               Indictment at the time of sentencing;

       (b)     to not file any additional charges against the defendant arising out of the facts
               forming the basis for the present Indictment and Superseding Indictment;

       (c)     to jointly recommend a sentence of two years of probation with the standard,
               mandatory and special conditions recommended by the United States Probation
               Office, and the additional conditions that (i) the defendant will be confined to his
               home except to attend school or school functions, church or church functions, work
               and other meetings authorized by the USPO for a period of six months, (ii) pursue
               an advanced degree or education, (iii) maintain employment as directed and
               approved by the USPO;

       (d)     to jointly recommend that the defendant be precluded from engaging in any form
               of gaming activity for two years and that the defendant's cellular telephone(s) and
               computers and/or other electronic devices be subject to inspection and search by
               the USPO; and

       (e)     to recommend the defendant receive a two (2) level reduction in the applicable
               offense level under U.S.S.G. § 3El.l for acceptance ofresponsibility. In addition,
               if his offense level is 16 or greater, prior to any reduction for acceptance of
               responsibility, and the Court finds he qualifies for a two-level reduction, the United
               States will move at the time of sentencing for an additional one-level reduction for
               acceptance of responsibility because he timely notified the government of his
               intention to enter a plea of guilty.

       The United States' obligations under this Paragraph are contingent upon the defendant's

continuing to manifest an acceptance ofresponsibility. If the defendant denies or gives conflicting

statements as to his involvement, falsely denies or frivolously contests relevant conduct the Court

determines to be true, willfully obstructs or impedes the administration of justice, as defined by

U.S.S.G. § 3Cl.l (or willfully attempts to do so), or has engaged in additional criminal conduct,

the United States reserves the right to petition the Court for a hearing to determine if he has

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breached this Plea Agreement.

       If the Court finds by a preponderance of the evidence that the defendant (1) has breached

or violated this Plea Agreement; (2) has willfully obstructed or impeded the administration of

justice, as defined by U.S.S.G. § 3Cl.l (or willfully attempted to do so); (3) has engaged in

additional criminal conduct; or (4) has otherwise failed to adhere to this Plea Agreement's terms,

the United States shall not be bound by this Paragraph, and may pursue any additional charges

arising from the criminal activity under investigation, as well as any charges for any perjury, false

statement, or obstruction of justice that may have occurred.

       If the Court finds the defendant has violated this Plea Agreement, he understands and

agrees that all statements he made, any testimony given before a grand jury or other tribunal, or

any leads from such statements or testimony, shall be admissible against him in any and all

criminal proceedings. The defendant waives any rights which might be asserted under the United

States Constitution, any statute, Federal Rule of Criminal Procedure l l(f), Federal Rule of

Evidence 410, or any other federal rule that pertains to the admissibility of any statements he made

subsequent to this Plea Agreement.

       6.      Defendant's Agreements. The defendant agrees to cooperate fully and truthfully

with the United States. Specifically, the defendant agrees:

       (a)     to provide truthful, complete, and accurate information and testimony in the trial of
               this matter, before any grand jury proceeding, or in any related hearing;

       (b)     to provide all information concerning the defendant's knowledge of, and
               participation in the offenses charged in the Indictment and Superseding Indictment
               and all related conduct; and

       (c)     in the event the United States requests the Court to consider reducing the
               defendant's sentence for his substantial assistance, as discussed below, to not
               request a downward departure for anything other than his substantial assistance,
               and to not request a variance for any reason under 18 U.S. C. § 3553( a).
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       7.      Substantial Assistance. The defendant acknowledges that he has not yet provided

substantial assistance within the meaning ofU.S.S.G. § 5Kl.1 and 18 U.S.C. § 3553(e). He also

acknowledges and understands that the determination as to whether he has provided substantial

assistance and whether a U.S.S.G. § 5Kl .1 motion will be filed are left entirely and exclusively

within the discretion of the United States. If the United States makes a determination that he has

provided substantial assistance, the United States shall request that the Court consider reducing

the sentence he would otherwise receive under the applicable statutes and/or sentencing guidelines,

pursuant to 18 U.S.C. § 3553(e), 28 U.S.C. § 994(n), and U.S.S.G. § 5Kl.l.

       8.      Defendant's Additional Agreement. At least thirty (30) days prior to sentencing,

the defendant agrees to provide to the United States Attorney's Office letters of apology to the

family of A.F., the Wichita Police Department and Sedgwick County Emergency

Communications. It is understood by the parties that these letters must be handwritten by the

defendant, Casey S. Viner, as an expression of his true and sincere thoughts, feelings and beliefs.

       9.      Sentence to be Determined by the Court. The defendant understands that the

sentence to be imposed will be determined solely by the United States District Judge. The United

States cannot and has not made any promise or representation as to what sentence he will receive.

       10.     Identification of Assets and Agreement Concerning Monetary Penalties

(Restitution, Fines, Assessments) and Forfeiture. The defendant agrees to cooperate fully with

the United States Attorney's Office and specifically agrees as follows:

       (a)     Defendant agrees to execute a financial statement provided by the United States
               Attorney's Office and to update the statement with any material changes within 30
               days of any such change. Defendant further agrees to provide all supporting
               documentation, including, but not limited, to copies of federal tax returns. The
               defendant agrees to disclose all assets in which defendant has any interest or which
               defendant exercises control, directly or indirectly, including those held by a spouse,
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      nominee, or other third party, as well as any transfer of assets that has taken place
      within six years preceding the entry of the judgment in this criminal case.
      Additionally, the defendant agrees to periodically execute an updated financial
      statement at the request of the United States Attorney's Office until such time the
      judgment debt is paid in full.

(b)   Defendant agrees to authorize the release of all financial information requested by
      the United States, including, but not limited to, executing authorization forms for
      the United States to obtain tax information, bank account records, credit history,
      and social security information. Defendant agrees the United States Attorney's
      Office may subpoena any records it deems relevant to conduct a full financial
      investigation. Defendant agrees to discuss or answer any questions by the United
      States relating to its financial investigation.

(c)   Defendant agrees to submit to an examination prior to and/or after sentencing,
      which may be taken under oath, and/or may include a polygraph examination.

(d)   Defendant agrees that any waivers, consents, or releases executed for the United
      States Probation Office for purposes of preparation of the Presentence Report may
      be provided to the United States Attorney's Office. All information defendant
      provided to the United States Probation Office or independently obtained by the
      United States Probation Office may be provided to the United States Attorney's
      Office.

(e)   Defendant agrees not to encumber, transfer, or dispose of any monies, property, or
      assets under defendant's custody or control, without written approval from the
      United States Attorney's Office.

(f)   Defendant agrees that whatever monetary penalties the Court imposes (including
      any fine, restitution, assessment, or forfeiture judgment), will be due and payable
      immediately and subject to immediate enforcement by the United States. Should
      the Court impose a schedule of payments, he agrees that the schedule of payments
      is a minimum schedule of payments and not the only method, nor a limitation on
      the methods, available to the United States to enforce the judgment. If defendant
      is incarcerated, defendant agrees to participate in the Bureau of Prisons' Inmate
      Financial Responsibility Program, regardless of whether the Court specifically
      directs participation or imposes a schedule of payments.

(g)   If defendant posted funds as security for defendant's appearance in this case,
      defendant authorizes the Court to release the funds to the Clerk of the United States
      District Court to be applied to the criminal monetary impositions at the time of
      sentencing.

(h)   Defendant waives any requirement for demand of payment on any restitution, fine,
      assessment, or forfeiture judgment entered by this Court.
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       (i)     Defendant agrees to notify the United States Attorney's Office within 30 days of
               any change of address or other contact information until the judgment debt is paid
               in full.

       (j)     Defendant agrees the terms of this agreement shall be incorporated into the
               Judgment in a Criminal Case.

       (k)     Defendant waives the administrative requirements of the Treasury Offset Program,
               including the requirement of default, and agrees to be immediately included in the
               Treasury Offset Program allowing federal benefits and payments to be offset and
               applied to the balance of criminal monetary penalties.

       (1)     Defendant agrees that noncompliance with any of the terms set forth in this
               paragraph will result in a continuance of the sentencing hearing.

       11.     Restitution. The defendant knowingly and voluntarily agrees and consents to pay

$2,500.00 in restitution for expenses his criminal conduct imposed on the family of A.F. and

Wichita and Sedgwick County law enforcement agencies. Restitution shall be paid to the Clerk's

Office as ordered by the Court.

       12.     Withdrawal of Plea Not Permitted. The defendant understands that ifthe Court

accepts this Plea Agreement, but imposes a sentence with which he does not agree, he will not be

permitted to withdraw his guilty plea.

       13.     Payment of Special Assessment. The defendant understands that a mandatory

special assessment of $100. 00 per count of conviction will be entered against him at the time of

sentencing. The parties acknowledge that if the Court finds the defendant is without resources to

pay the special assessment at the time of sentencing, the Court may allow payment during his

period of incarceration.

       14.     Waiver of Appeal and Collateral Attack.           The defendant knowingly and

voluntarily waives any right to appeal or collaterally attack any matter in connection with this

prosecution, his conviction, or the components of the sentence to be imposed herein, including the
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length and conditions of supervised release, as well as any sentence imposed upon a revocation of

supervised release. The defendant is aware that 18 U.S.C. § 3742 affords him the right to appeal

the conviction and sentence imposed. The defendant also waives any right to challenge his

sentence, or the manner in which it was determined, or otherwise attempt to modify or change his

sentence, in any collateral attack, including, but not limited to, a motion brought under 28 U.S.C.

§ 2255 (except as limited by United States v. Cockerham, 237 F.3d 1179, 1187 (10th Cir. 2001)),

or a motion brought under Federal Rule of Civil Procedure 60(b ). In other words, the defendant

waives the right to appeal the sentence imposed in this case, except to the extent, if any, the Court

departs upwards from the sentencing Guideline range that the Court determines to be applicable.

However, if the United States exercises its right to appeal the sentence imposed, as authorized by

18 U.S.C. § 3742(b), the defendant is released from this waiver and may appeal the sentence

received, as authorized by 18 U.S.C. § 3742(a). Notwithstanding the forgoing waivers, the parties

understand that the defendant in no way waives any subsequent claims with regards to ineffective

assistance of counsel or prosecutorial misconduct.

        15.    FOIA and Privacy Act Waiver. The defendant waives all rights, whether asserted

directly or by a representative, to request or receive from any department or agency of the United

States any records pertaining to the investigation or prosecution of this case, including, without

limitation, any records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552.

The defendant further waives any rights conferred under the Privacy Act of 1974, 5 U.S.C. § 552a,

to prevent or object to the disclosure of records or materials pertaining to this case.

        16.    Waiver of Claim for Attorney's Fees. The defendant waives all claims under the

Hyde Amendment, 18 U.S.C. § 3006A, for attorney's fees and other litigation expenses arising out

of the investigation or prosecution of this matter.
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        17.     Full Disclosure by United States. The defendant understands the United States

will provide to the Court and the United States Probation Office all information it deems relevant

to determining the appropriate sentence in this case. This may include information concerning his

background, character, and conduct, including the entirety of his criminal activities. The defendant

understands these disclosures are not limited to the count to which he is pleading guilty. The

United States may respond to comments he or his attorney makes, or to positions he or his attorney

takes, and to correct any misstatements or inaccuracies. The United States further reserves its right

to make any recommendations it deems appropriate regarding the disposition of this case, subject

only to any limitations set forth in this Plea Agreement. The defendant also has the right to provide

information concerning the offense and to make recommendations to the Court and the United

States Probation Office.

        18.     Parties to the Agreement. The defendant understands this Plea Agreement binds

only him and the United States Attorney for the District of Kansas, and that it does not bind any

other federal, state, or local prosecution authority.

        19.    No Other Agreements. The defendant has had sufficient time to discuss this case,

the evidence, and this Plea Agreement with his attorney and he is fully satisfied with the advice

and representation his attorney provided. Further, the defendant acknowledges that he has read

the Plea Agreement, understands it, and agrees it is true and accurate and not the result of any

threats, duress or coercion. The defendant further understands that this Plea Agreement supersedes

any and all other agreements or negotiations between the parties, and that this Plea Agreement

embodies each and every term of the agreement between the parties.

        20.    The defendant acknowledges that he is entering into this Plea Agreement and is

pleading guilty because he is guilty. He further acknowledges that he is entering his guilty plea
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freely, voluntarily, and knowingly.



Stephe R. McAllister
                                                 Date    /tf r'/ / 0 2£>[Cj
Unite States Attorney



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                                                 Date:                     (}.0//1



              Defend~
Jack Morrison, Jr.
Counsel for




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